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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:04CR158
                              )
          v.                  )
                              )
JOSHUA THORPE,                )              ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


           Pursuant to the memorandum opinion entered herein this

date,

           IT IS ORDERED that defendant’s motion filed pursuant to

28 U.S.C. § 2255 to vacate, set aside or correct sentence (Filing

No. 216) is denied.

           DATED this 28th day of January, 2009.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
